Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 1 of 13          PageID #: 340




                  IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

 UNITED STATES OF AMERICA,                     Case No. 20-cr-00051-DKW

              Plaintiff,                       ORDER DENYING
                                               DEFENDANT’S MOTION FOR
       vs.                                     COMPASSIONATE RELEASE

 ROXANNE L. CABRAL,

              Defendant.


      Approximately 13 months into her 57-month sentence, Defendant Roxanne

Cabral asks the Court to grant her compassionate release to home confinement

with location monitoring, citing various medical concerns and the need to care for

her 82-year-old father. None of these factors, individually or collectively, presents

extraordinary or compelling reasons warranting the relief Cabral seeks.

Furthermore, Cabral has failed to demonstrate that she exhausted her

administrative remedies, and the Section 3553 sentencing factors do not weigh in

her favor. Therefore, her motion for compassionate release is DENIED.

                            RELEVANT BACKGROUND

      On November 13, 2020, Cabral pled guilty to distributing 50 grams or more

of methamphetamine. Dkt. No. 16. On March 4, 2021, the Court sentenced her to

57 months’ imprisonment to be followed by three years of supervised release. Dkt.

No. 23. An Order of Forfeiture (Money Judgment) in the amount of $4,500 was
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 2 of 13                 PageID #: 341




also levied against her. Dkt. No. 22. Cabral is serving her sentence at FDC-

Honolulu with an anticipated release date of April 30, 2025. Dkt. No. 32 at 5.1

       On May 16, 2022, Cabral filed a motion for sentence reduction pursuant to

18 U.S.C. § 3582(c)(1)(A)(i) (“compassionate release motion”). Dkt. No. 27.

Cabral claims that her health conditions, which include osteoarthritis of the knee,

an “abnormal” breast exam, obesity, and high blood pressure, as well as her need

to care for her 82-year-old father, who has a tumor behind his ear, present

extraordinary and compelling reasons warranting release. Id.

       On June 7, 2022, the Government filed a response in opposition, contending

that Cabral’s circumstances are neither extraordinary nor compelling, especially

given that some of her medical claims are not supported by her medical records. In

one instance, for example, she refused physician-recommended medical care for

her supposed serious health issues because she did not want to quarantine in

advance. Dkt. No. 32. Cabral did not reply to the Government’s opposition, and

this Order follows.

                                 LEGAL STANDARD

       “‘[A] judgment of conviction that includes [a sentence of imprisonment]

constitutes a final judgment’ and may not be modified by a district court except in



1
 Find an Inmate, Federal Bureau of Prisons (“BOP”), https://www.bop.gov/inmate/loc (last
visited June 22, 2022) (BOP Register Number 12243-122).

                                              2
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 3 of 13          PageID #: 342




limited circumstances.” Dillon v. United States, 560 U.S. 817, 824 (2010)

(alterations in original) (quoting 18 U.S.C. § 3582(b)). Such circumstances must

be “expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal

Procedure.” See 18 U.S.C. § 3582(c)(1)(B); see also Dillon, 560 U.S. at 827, 831;

United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003).

      Congress carved out one such circumstance in 18 U.S.C. § 3582(c)(1)(A)(i).

A court may “modify a term of imprisonment” upon an inmate’s motion if:

         1. the inmate exhausted “all administrative rights to appeal a failure of
            the Bureau of Prisons to bring a motion” on her behalf or 30 days has
            lapsed since the relevant warden received a request to do so;

         2. the inmate has established that “extraordinary and compelling reasons
            warrant such a reduction”; and

         3. the court considers the sentencing factors set forth in 18 U.S.C.
            §3553(a).

18 U.S.C. § 3582(c)(1)(A)(i). The inmate bears the burden of establishing the

requirements for a sentence reduction by a preponderance. See, e.g., United States

v. Sprague, 135 F.3d 1301, 1306–07 (9th Cir. 1998); see also Walton v. Arizona,

497 U.S. 639, 650 (1990) (“[A] defendant’s [due process] rights are not violated by

placing on him the burden of proving mitigating circumstances sufficiently

substantial to call for leniency.”), overruled on other grounds by Ring v. Arizona,

536 U.S. 584, 609 (2002).




                                         3
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 4 of 13                      PageID #: 343




                                         DISCUSSION

I.     Exhaustion of Administrative Rights

       Section 3582(c)(1)(A)(i) requires an inmate to either exhaust “all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion”

on her behalf or wait 30 days from the time the relevant warden receives a request

to do so. 18 U.S.C. § 3582(c)(1)(A)(i). Exhaustion is a statutory requirement, not

a judge-made one.

       [J]udge-made exhaustion doctrines, even if flatly stated at first, remain
       amenable to judge-made exceptions. . . . But a statutory exhaustion
       provision stands on a different footing. There, Congress sets the rules—and
       courts have a role in creating exceptions only if Congress wants them to.

Ross v. Blake, 578 U.S. 632, 639 (2016) (citation omitted). In the compassionate

release context, “exhaustion is mandatory—nothing in the text of [the] statute

suggests allowance for equitable or judicial exceptions.” United States v.

Drummondo-Farias, 460 F. Supp. 3d 1008, 1011 (D. Haw. 2020), aff’d, 855 F.

App’x 417 (9th Cir. 2021).

       Here, the Government has conceded, for the limited purpose of its response,

that Cabral has satisfied the administrative exhaustion requirement. Dkt. No. 32 at

2. 2 However, Cabral has provided no evidence of any attempt on her part to appeal

the BOP’s failure to bring a motion on her behalf or to request that the FDC-


2
 See also Dkt. No. 32 at 2 n.2 (reserving the right to submit further briefing on the administrative
exhaustion issue should the Court grant Cabral’s request for compassionate release).

                                                 4
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 5 of 13           PageID #: 344




Honolulu warden do so. See Dkt. No. 27. Thus, regardless of the Government’s

decision not to brief the issue, the Court finds that Cabral has not met the

exhaustion requirement, and, consequently, denies her motion on that basis.

II.   Extraordinary and Compelling Reasons

      Even if Cabral had exhausted her administrative remedies, her motion would

be denied on its merits. Section 3582(c)(1)(A)(i) permits a sentence reduction only

upon a showing of “extraordinary and compelling reasons.” Congress did not

define “extraordinary and compelling reasons” warranting compassionate release,

but the Sentencing Commission has. See U.S.S.G. § 1B1.13. The Sentencing

Commission’s definition is binding only as to compassionate release motions

brought by the Director of the Bureau of Prisons, not where, as here, such motions

are brought directly by a defendant. Nonetheless, that definition “may inform a

district court’s discretion for [Section] 3582(c)(1)(A) motions filed by a

defendant.” United States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021).

Application notes 1.A and 1.C of the commentary to U.S.S.G § 1B1.13 provide, in

relevant part, that “extraordinary and compelling reasons exist under” the

following circumstances:

      (A) Medical Condition of the Defendant.--
      (i) The defendant is suffering from a terminal illness (i.e., a serious
      and advanced illness with an end of life trajectory). A specific
      prognosis of life expectancy (i.e., a probability of death within a
      specific time period) is not required. Examples include metastatic


                                          5
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 6 of 13                      PageID #: 345




          solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
          organ disease, and advanced dementia.
          (ii) The defendant is--
          (I) suffering from a serious physical or medical condition,
          (II) suffering from a serious functional or cognitive impairment, or
          (III) experiencing deteriorating physical or mental health because of
          the aging process,
          that substantially diminishes the ability of the defendant to provide
          self-care within the environment of a correctional facility and from
          which he or she is not expected to recover.

          (C) Family Circumstances.--
          (i) The death or incapacitation of the caregiver of the defendant's
          minor child or minor children.
          (ii) The incapacitation of the defendant's spouse or registered partner
          when the defendant would be the only available caregiver for the
          spouse or registered partner.

          Here, Cabral describes two sets of circumstances she hopes warrant

compassionate release: her medical conditions and her family circumstances.3

A.        Cabral’s Medical Conditions

          Cabral claims that “unforeseen ailments have taken over [her] life

physically.” Dkt. No. 27 at 1. While her medical records consistently confirm that

Cabral suffers from the claimed ailments, the records do not demonstrate anything

approaching life-threatening, acute, or serious or that her conditions have not been

appropriately managed in custody.




3
    Cabral does not explicitly cite to the Sentencing Commission’s guidance in her motion.

                                                  6
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 7 of 13                    PageID #: 346




       i.     Osteoarthritis of the knee

       Cabral claims that she requires a knee replacement and that she currently

“walk[s] with a cane as it is bone to bone.” Id. Her medical records document

“osteoarthritis of knee,” a diagnostic arthroscopy of the right knee in 2019, one

round of injections for the associated pain in 2021, and a current prescription for

painkillers. Dkt. No. 35 at 5, 15, 18, 23, 29. A radiologist examined Cabral’s

knees on August 17, 2021, and the scan confirmed the presence of osteoarthritis in

both knees. Id. at 159. However, there is no mention of any need for a knee

replacement anywhere in the medical records. See generally Dkt. No. 35. Thus, it

appears that Cabral receives regular medical care for her knees and has no

documented need for knee replacement. Nor is there any information in the record

even suggesting that the BOP could not provide or arrange for such a replacement,

even if one were necessary.

       ii.    Abnormal Breast Exam

       Cabral claims she had an abnormal breast examination while in custody and

“need[s] a second opinion,” especially since her “mother has a history of breast

cancer.” Dkt. No. 27 at 1.4 Cabral’s medical records confirm that, on September

27, 2021, her screening mammogram showed a “nodule density” that required a



4
 Cabral’s medical records confirm that her mother has a history of breast cancer, having been
diagnosed when she was younger than Cabral’s current age. Dkt. No. 35 at 156.

                                               7
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 8 of 13                  PageID #: 347




follow-up diagnostic mammogram and possibly an ultrasound. Dkt. No. 35 at 26.

It appears that the BOP offered access to follow-on screening services but, on

February 28, 2022, Cabral declined to attend. See id. at 14 (“[Cabral] does not

want to go to [her] outside [appointment] for recommended Mammogram . . . .

She reports she does not want to have to go on quarantine due to the offsite

[appointment] and therefore declines at this time.”). Thus, again, Cabral seems to

have received adequate preventive and follow-up screening for breast cancer, and

there is no evidence indicating that she must be released early in order to access

such services.

       iii.   Obesity

       Cabral describes herself as “morbidly obese.” Dkt. No. 27 at 1.5 Cabral’s

medical records confirm that she suffers from this medical condition. On January

27, 2022, Cabral’s physician documented that Cabral is “obese” with a BMI of 41.

Dkt. No. 35 at 18. The physician reported that Cabral was “[w]ell appearing, well

nourished.”6 Id. The physician also noted that Cabral had demonstrated

“[i]ntentional weight loss over the last year with lifestyle modification efforts[,]

exercising (walking)[,] and making smart diet choices.” Id. at 17. Thus, it appears


5
  Cabral does not tie this condition to the risk of contracting COVID (against which she is
vaccinated). See Dkt. No. 27 at 1.
6
  The CDC categorizes adults with Body Mass Index (BMI) scores of 30 and above as obese. A
person whose BMI exceeds 40.0 is classified as Class 3, or “severe[ly]” obese. Overweight and
Obesity, CDC (June 3, 2022) https://www.cdc.gov/obesity/adult/defining.html (last visited June
22, 2022).

                                               8
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 9 of 13                  PageID #: 348




that Cabral has actually made progress toward weight loss while incarcerated.

And, once again, there is nothing in the record demonstrating her obese condition

is acute or serious or that further progress can only be achieved through early

release.

       iv.    Hypertension

       Finally, Cabral claims she has high blood pressure. Dkt. No. 27 at 1.

Cabral’s medical records confirm this condition but do not show that Cabral’s care

in custody is lacking. 7 On January 27, 2022, Cabral was prescribed a new

hypertension medication, and her physician ordered her blood pressure to be taken

four times over the coming weeks. Dkt. No. 35 at 18, 19.

       v.     Conclusion

       Cabral has not shown that she suffers from a terminal illness or deteriorating

mental or physical condition “that substantially diminishes [her] ability . . . to

provide self-care within the environment of a correctional facility and from which

[she] is not expected to recover.” See U.S.S.G. § 1B1.13. Moreover, given the

amount and level of medical care Cabral is being provided and her ability to

manage and even improve her medical issues while incarcerated, Cabral has not




7
 High blood pressure affects a significant percentage of the American population. Hypertension
Prevalence Among Adults Aged 18 and Over: United States, 2017–2018, CDC (April 2020)
https://www.cdc.gov/nchs/products/databriefs/db364.htm (last visited June 22, 2022) (stating
that 45.4% of American adults have hypertension).

                                              9
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 10 of 13           PageID #: 349




 shown that she has not received proper medical care in prison or that

 compassionate release would improve her access to such care. Thus, whether

 considered separately or in combination, Cabral’s medical conditions do not

 present extraordinary or compelling reasons to grant the relief she seeks.

 B.    Cabral’s Family Circumstances

       Cabral claims, “[M]y father needs me to assist him as he has a tumor behind

 his ear and my mother suffers from bipolar which causes her mental ailment to

 impede in providing assistance to my father.” Dkt. No. 27 at 2. Cabral provides

 no documentation of her parents’ medical conditions, leaving the Court without

 information that may clarify how compelling these circumstances may be.

       Moreover, even assuming her father requires care from a third person and

 that her mother is not able to assume that role because of her own health issues,

 Cabral has not shown that she is the only available substitute. According to

 Cabral’s Presentence Investigation Report, she has two living siblings. Dkt. No.

 21 at 11. One of them, Rhonda Kealoha, is 49 years old, employed, and lives on

 O‘ahu in Mililani, a short drive from her parents’ Pearl City home. Id. In addition,

 Cabral has four adult children, two of whom live on the island of O‘ahu. Id. at 13.

 Raylene Fraser is 38 years old, employed as a hairstylist, and resides in Pearl City,

 and Raynele Koverman is 37 years old, owns a small business, and resides in

 Kapolei. Id. Cabral provides no explanation as to why these other relatives, all


                                          10
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 11 of 13            PageID #: 350




 with income and residing nearby, are unable to assist her father. Therefore,

 Cabral’s family circumstances do not present an extraordinary or compelling

 reason to grant her release to home confinement.

 III.   Section 3553(a) Factors

        Finally, even if Cabral had exhausted her administrative remedies, and even

 if she had demonstrated extraordinary and compelling reasons justifying

 compassionate release, the sentencing factors weigh against her. Without

 explicitly identifying any Section 3553(a) factors, Cabral makes claims that

 broadly track two of the factors: (1) her exemplary record in prison and (2) her

 need for medical care. Dkt. No. 27 at 1; see 18 U.S.C. § 3553(a) (Factor 1: “the

 nature and circumstances of the offense and the history and characteristics of the

 defendant” and Factor 2(d): “the need for the sentence imposed . . . to provide the

 defendant with . . . medical care”). Neither factor supports her cause.

        i.    Factor 1

        Cabral states that she has “an impeccable record while being an inmate” and

 has worked “part-time in the kitchen and as a unit orderly.” Dkt. No. 27 at 1. The

 Court agrees that there is no evidence that Cabral’s time in prison has been

 anything but exemplary. However, the Court’s analysis of this factor must also

 consider the nature and circumstances of Cabral’s offense and Cabral’s other

 history, all of which were carefully and recently considered by this Court on


                                          11
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 12 of 13           PageID #: 351




 March 4, 2021 when it sentenced Cabral to 57 months’ incarceration after she pled

 guilty to methamphetamine distribution. Dkt. No. 21 at 4. Cabral has currently

 served only about 13 months—approximately 23%—of her sentence. Dkt. No. 23.

 The fact that she has served her time without incident thus far does not persuade

 the Court to disregard the remainder of the sentencing factors or the sentence it

 imposed just over a year ago.

       ii.    Factor 2(d)

       As discussed above, Cabral suffers from various medical ailments including

 osteoarthritis of the knee, an abnormal breast exam, obesity, and high blood

 pressure. Dkt. Nos. 27 at 1; 35 at 4, 12, 17. The Court appreciates that these

 conditions leave Cabral in pain and in need of medical attention, a fact true of

 many others in and outside of custody. But she makes no justifiable claim that the

 care she has received in prison is below standard or that her conditions are not

 manageable within the prison setting. Cabral receives prescription medication for

 her arthritis pain and high blood pressure, she was provided the opportunity to

 have a follow-up diagnostic mammogram, which she declined, and she has

 succeeded in losing some weight while incarcerated because of diet and exercise.

 In sum, the Section 3553(a) factors weigh against granting Cabral’s motion for

 compassionate release.




                                          12
Case 1:20-cr-00051-DKW Document 36 Filed 06/24/22 Page 13 of 13            PageID #: 352




                                  CONCLUSION

       For the reasons set forth above, Cabral has failed to exhaust her

 administrative remedies, she has failed to present extraordinary and compelling

 reasons warranting a sentence reduction, and the sentencing factors weigh against

 early release. Accordingly, her motion seeking compassionate release to home

 confinement with location monitoring, Dkt. No. 27, is DENIED.

       IT IS SO ORDERED.

       DATED: June 24, 2022 at Honolulu, Hawai‘i.




 United States of America v. Roxanne L. Cabral; Criminal No. 20-00051 DKW;
 ORDER DENYING DEFENDANT’S MOTION FOR COMPASSIONATE
 RELEASE




                                         13
